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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

MAVERICK GAMING, LLC,

                           Plaintiff,

       v.

UNITED STATES OF AMERICA,
UNITED STATES DEPARTMENT OF                            Civil Action NO. 1:22-cv-00068-FYP
THE INTERIOR, DEB HAALAND,
BRYAN NEWLAND, JAY INSLEE,
ROBERT FERGUSON, BUD
SIZEMORE, JULIA PATTERSON,
ALICIA LEVY, KRISTINE REEVES,
SARAH LAWSON, STEVE CONWAY,
JEFF HOLY, SHELLEY KLOBA,
BRANDON VICK, and TINA GRIFFIN,

                           Defendants.


                STATE DEFENDANTS’ MOTION TO TRANSFER VENUE

       Defendants Jay Inslee, Robert Ferguson, Bud Sizemore, Julia Patterson, Alicia Levy,

Kristine Reeves, Sarah Lawson, Steve Conway, Jeff Holy, Shelley Kloba, Brandon Vick, and

Tina Griffin (collectively, the State Defendants), all in their official capacities, respectfully move

for an order from this Court transferring this action from this District to the U.S. District Court for

the Western District of Washington under 28 U.S.C. §§ 1631 and 1406(a), or in the alternative,

under 28 U.S.C. § 1404(a). This motion is based on the following memorandum of points and

authorities in support.

       Defendants the United States of America, the United States Department of the Interior,

Deb Haaland, and Bryan Newland (collectively, the Federal Defendants), join the request to

transfer on convenience grounds for the reasons stated in Section IV.C of the following

memorandum of points and authorities in support.


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DATED this 24th day of February, 2022

                                                  ROBERT W. FERGUSON
                                                  Attorney General of Washington

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                                CERTIFICATE OF SERVICE

       I certify, under penalty of perjury under the law of the District of Columbia, that the

foregoing was electronically filed in the United States District Court for the District of Columbia

and electronically served on the following parties:


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       DATED this 24th day of February 2022,
                                                         ROBERT W. FERGUSON
                                                         Attorney General of Washington

                                                         s/ Kristin Beneski
                                                         KRISTIN BENESKI, WSBA No. 45478
                                                         First Assistant Attorney General




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